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     In The United States Court of Federal Claims
                                   Nos. 12-863C and 12-883C

                                   (Filed: December 21, 2012)
                                           __________

  INSIGHT SYSTEMS CORP., and
  CENTERSCOPE TECHNOLOGIES, INC.,

                                 Plaintiffs,

                          v.

  THE UNITED STATES,

                                 Defendant.


                                               __________

                                                ORDER
                                               __________

        On December 20, 2012, a telephonic status conference was held in this case.
Participating in the conference were Richard J. Webber, for plaintiff Insight Systems Corp., John
R. Tolle, for plaintiff CenterScope Technologies, Inc., and Matthew Paul Roche, for defendant.
Pursuant to discussions during the conference, the court adopts the following schedule:

       1.       On or before January 8, 2013, defendant shall file the administrative
                record on CD-ROM, and shall effectuate service to all parties;

       2.       On or before January 22, 2013, plaintiffs shall file their motions for
                judgment on the administrative record;

       3.       On or before February 5, 2013, defendant shall file its cross-motions for
                judgment on the administrative record and responses to plaintiffs’
                motions;1

       4.       On or before February 15, 2013, plaintiffs shall file replies to their
                motions and responses to defendant’s cross-motions;

       1
       For all filings reflected on this scheduling order, defendant may file consolidated
documents.
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5.       On or before February 25, 2013, defendant shall file its replies in support
         of its cross-motions; and

6.       Oral argument on these motions will be scheduled by future order.

IT IS SO ORDERED.



                                               s/ Francis M. Allegra
                                               Francis M. Allegra
                                               Judge




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